
250 S.W.3d 837 (2008)
In the Interest of D.H., D.W., and T.H.
No. ED 89757.
Missouri Court of Appeals, Eastern District, Division Two.
April 29, 2008.
Adrienne L. Schaffer, St. Louis, MO, for appellant.
Allison M. Wolff, St. Louis County Family Court, St. Louis, MO, for respondent.
Before LAWRENCE E. MOONEY, P.J., BOOKER T. SHAW, J., and KURT S. ODENWALD, J.

ORDER
PER CURIAM.
Mother appeals from the judgment of the family court terminating her parental rights with respect to her minor children D.H., (D.O.B. 9/4/02), D.W., (D.O.B. *838 11/7/98), and T.H. (D.O.B. 6/15/01),[1] pursuant to Section 211.447 RSMo 2000.[2]
We have reviewed the briefs of the parties and the record on appeal. The family court's judgment is supported by substantial evidence, is not against the weight of the evidence, and does not erroneously declare or apply the law. In the Interest of P.D., 144 S.W.3d 907, 910 (Mo.App. E.D.2004). An extended opinion would have no precedential value. We have, however, provided a memorandum opinion for the use of the parties only setting forth the reasons for our decision. We affirm the judgment pursuant to Rule 84.16(b).
NOTES
[1]  The family court also terminated the parental rights of the legal and natural fathers of D.H., D.W., and T.H., but the rights of those individuals are not the subject of this appeal.
[2]  All subsequent statutory citations are to RSMo 2000 unless otherwise indicated.

